Case 4:19-cr-00309-ALM-KPJ Document 97 Filed 05/06/20 Page 1 of 4 PageID #: 166



                             UNITED STATES DISTRICT COURT
                              EASTERN DISTRICT OF TEXAS
                                  SHERMAN DIVISION

 UNITED STATES OF AMERICA                         §
                                                  §
 V.                                               §   Case Number 4:19-CR-309 ALM/KPJ
                                                  §
 ZACHARIAH LOGAN CARL (5)                         §



                                     SCHEDULING ORDER

        It is ORDERED:

                        I. PRETRIAL DISCOVERY AND INSPECTION

        A.      Within five (5) days after the arraignment, or date of receipt of this Order by

 Defendant, whichever occurs first, the United States Attorney or Assistant United States Attorney

 prosecuting the case (hereinafter collectively “United States Attorney”) and Defendant’s attorney

 shall confer; whereupon, the United States of America (hereinafter “the Government”) shall:

        (1)     Permit Defendant’s attorney to inspect and copy or photograph any relevant
                written or recorded statements or confessions made by Defendant, or copies
                thereof, within the possession, custody or control of the Government, the
                existence of which is known, or by the exercise of due diligence may become
                known, to the attorney for the Government;

        (2)     Permit Defendant’s attorney to inspect and copy or photograph that portion of any
                written record containing the substance of any relevant oral statement made by the
                Defendant whether before or after arrest in response to interrogation by any person
                then known to Defendant to be a Government agent;

        (3)     Permit Defendant’s attorney to inspect and copy or photograph any recorded
                testimony of Defendant before a grand jury which relates to the offense charged;

        (4)     Disclose to Defendant’s attorney the substance of any other relevant oral
                statement made by Defendant whether before or after arrest in response to
                interrogation by any person then known by Defendant to be a Government agent if
                the Government intends to use that statement at trial;

        (5)     Disclose to Defendant any copy of Defendant’s prior criminal record, if any, as is
                within the possession, custody, or control of the Government, the existence of
                which is known, or by the exercise of due diligence may become known, to the
                attorney for the Government, including the Federal Bureau of Investigation
                Identification Sheet;
Case 4:19-cr-00309-ALM-KPJ Document 97 Filed 05/06/20 Page 2 of 4 PageID #: 167


        (6)     Permit Defendant’s attorney to inspect and copy or photograph books, papers,
                documents, photographs, tangible objects, buildings or places, or copies or
                portions thereof, which are within the possession, custody or control of the
                Government, and which are material to the preparation of Defendant’s defense or
                are intended for use by the Government as evidence in chief at the trial, or were
                obtained from or belong to Defendant;

        (7)     Permit Defendant’s attorney to inspect and copy or photograph any relevant
                results or reports of physical or mental examinations, and of scientific tests or
                experiments made in connections with the case, or copies thereof, within the
                possession, custody or control of the Government, the existence of which is
                known, or by the exercise of due diligence may become known to the attorney for
                the Government, and which are material to the preparation of the defense or are
                intended for use by the Government as evidence in chief at the trial;

        (8)     Permit Defendant’s attorney to inspect, copy, or photograph any evidence within
                the ambit of Brady v. Maryland (evidence which might tend to exculpate
                Defendant, mitigate punishment, or impeach testimony which may be
                determinative of Defendant’s guilt or innocence);

        (9)     Disclose to Defendant’s attorney evidence of Defendant’s other crimes, wrongs,
                or acts which — although inadmissible to prove Defendant’s bad character — the
                Government believes to be admissible for other purposes, such as proof of motive,
                opportunity, intent, preparation, plan, knowledge, identity or absence of mistake
                or accident, concerning the instant charge; and

        (10)    Disclose to Defendant’s attorney a written summary of testimony the Government
                intends to use under Rules 702, 703, or 705 of the Federal Rules of Evidence,
                during its case in chief at trial, including witness opinions, bases and reasons
                therefor, and the witnesses’ qualifications.

        B.      If, in the judgment of the United States Attorney, it would not be in the interests

 of justice to make any one or more disclosures set forth in paragraph “A” and requested by

 Defendant’s counsel, the declination shall be in writing, directed to Defendant’s counsel, and

 signed personally by the United States Attorney, specifying the types of disclosures that are

 declined. If Defendant seeks to challenge the declination, Defendant shall proceed pursuant to
 paragraph “C” below.

        C.      If additional discovery or inspection is sought, Defendant’s attorney shall confer

 with the appropriate United States Attorney within ten (10) days of the arraignment, or date of

 receipt of this Order by Defendant, whichever occurs first, with a view to satisfying these

 requests in a cooperative atmosphere without recourse to the Court. The request may be oral or

 written, and the United States Attorney shall respond in a like manner.


                                                 -2-
Case 4:19-cr-00309-ALM-KPJ Document 97 Filed 05/06/20 Page 3 of 4 PageID #: 168


        D.      In the event Defendant thereafter moves for additional discovery or inspection,

 Defendant’s motion shall be filed within twenty (20) days after the arraignment, or date of receipt

 of this Order by Defendant, whichever occurs first. It shall contain:

        (1)     the statement that the prescribed conference was held;

        (2)     the date of said conference;

        (3)     the name of the United States Attorney with whom the conference was held; and

        (4)     the statement that agreement could not be reached concerning the discovery or
                inspection that is the subject of Defendant’s motion.

        The Court cautions counsel that filing unnecessary motions may result in imposition of

 sanctions. Counsel are to present by motion only genuine issues actually in dispute that counsel

 are unable to resolve in conference.

        E.      Upon the Government’s compliance with the provisions of paragraph “A” of this

 Order, Defendant shall permit the Government to inspect and copy or photograph:

        (1)     Books, papers, documents, photographs, tangible objects, or copies or portions
                thereof, which are within the possession, custody, or control of Defendant and
                which Defendant intends to introduce as evidence in chief at the trial; and

        (2)     Any results or reports of physical or mental examinations and of scientific tests or
                experiments made in connection with the particular case, or copies thereof, within
                the possession or control of Defendant, which Defendant intends to introduce as
                evidence in chief at the trial or which were prepared by a witness whom
                Defendant intends to call at the trial when the results or reports relate to that
                witness’s testimony.

        F.      Any duty of disclosure and discovery set forth in this Order is a continuing one.

        G.      Any disclosure granted by the Government pursuant to this Order of material
 within the purview of FED. R. CRIM. P. 16(a)(2) and 16(b) and FED. R. EVID. 404(b) shall be

 considered as information requested by Defendant and granted by the Court.




                                                 -3-
    Case 4:19-cr-00309-ALM-KPJ Document 97 Filed 05/06/20 Page 4 of 4 PageID #: 169


                     II. OTHER DEFENSES, OBJECTIONS AND REQUESTS

             Pursuant to FED. R. CRIM. P. 12(c), the Court requires that any defense, objection or

     request capable of determination without trial of the general issue1 be raised by written motion in

     the form required by FED. R. CRIM. P. 47. Any such motion shall be filed within twenty (20)

     days from date of this order, and the Government shall respond within seven (7) days after

     being served, unless the Court by separate order (e.g., an “Order Setting Final Pre-Trial and

     Trial” or similar order) establishes an explicit deadline for filing and responding to a particular

     type of motion. When specific deadlines established by separate Court order conflict with

     general deadlines stated above, the separate order shall prevail and govern the parties.

                                               III. COMPLIANCE
.
             Failure to provide discovery and observe deadlines established in this order may result in

     the imposition of sanctions. Failure to raise defenses or objections, or to make requests in

     accordance with Sections I and II, shall constitute waiver thereof, but the Court for cause shown

     may grant relief from the waiver.

             So ORDERED and SIGNED this 6th day of May, 2020.




                                                      ____________________________________
                                                      KIMBERLY C. PRIEST JOHNSON
                                                      UNITED STATES MAGISTRATE JUDGE




             1
               These matters include all matters listed in RULES 12 (b), 12.1, 12.2, 12.3, 14, 15 and 16, FED.
     R. CRIM. P., and include, without limitation, (1) defects in institution of prosecution; (2) defects in
     indictment or information; (3) suppression of evidence; (4) alibi; (5) insanity or mental condition; (6)
     defense based on public authority; (7) discovery; (8) depositions; (9) selective or vindictive prosecution;
     (10) outrageous governmental misconduct; (11) misjoinder; (12) pre-indictment delay; (13) speedy trial;
     (14) prejudicial publicity; (15) lack of personal jurisdiction; (16) Posse Comitatus Act, 18 U.S.C. 1385;
     (17) recantation as a defense to perjury; (18) limitations; (19) double jeopardy; (20) multiple sentencing;
     and (21) immunity. If the Federal Rules of Criminal Procedure, a federal statute, or other Order of the
     Court establishes an earlier deadline than established in this Order, the earlier deadline shall govern the
     parties.

                                                        -4-
